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       The Regents of the University of
  13 California

  14                             UNITED STATES DISTRICT COURT
  15          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  16 JOHN DOE, an individual,                      Case No. 8:21-cv-1807-JVS-DFM
  17                Plaintiff,                     JOINT STIPULATION
  18         vs.                                   REGARDING BRIEFING AND
                                                   HEARING ON MOTION TO
  19 REGENTS OF THE UNIVERSITY OF                  DISMISS FIRST AMENDED
       CALIFORNIA, a California
  20 corporation; and DOES 1 to 50                 COMPLAINT
       inclusive,
  21
                    Defendants.
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   1         Plaintiff John Doe and Defendant The Regents of the University of
   2 California, (together “the Parties”), by and through their counsel of record, stipulate

   3 and agree as follows:

   4         WHEREAS the Court entered, at the Parties’ request, the following schedule
   5 for the filing of Plaintiff’s First Amended Complaint and Defendant’s Motion to

   6 Dismiss Plaintiff’s First Amended Complaint and the Rule 26(f) Conference:

   7         1.    December 27, 2021 – Deadline to file First Amended Complaint
   8         2.    January 24, 2022 – Defendant’s Motion to Dismiss due
   9         3.    February 14, 2022 – Plaintiff’s Opposition due
  10         4.    February 28, 2022 – Defendant’s Reply due
  11         5.    March 14, 2022, at 1:30 p.m., or at the Court’s convenience – Hearing
  12         6.    April 7, 2022, or at the Court’s convenience – Rule 26(f) Conference
  13         WHEREAS Plaintiff filed his First Amended Complaint on December 27,
  14 2021;

  15         WHEREAS Defendant intends to file a motion to dismiss Plaintiff’s First
  16 Amended Complaint on January 24, 2021;

  17         WHEREAS a conflict has arisen for counsel for Defendant on March 14,
  18 2021, that will prevent counsel for Defendant from being available for the hearing;
  19         WHEREAS the Parties agree that if the hearing date is moved, the briefing
  20 deadlines for the Opposition and Reply should also be moved;

  21         WHEREAS the Parties agree that in the interests of judicial efficiency, the
  22 Rule 26(f) Conference should be postponed to a time after Defendant’s motion to

  23 dismiss is heard;

  24         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
  25 and through the respective counsel for the Parties, that the following briefing

  26 schedule will apply to briefing regarding Defendant’s Motion to Dismiss Plaintiff’s

  27 First Amended Complaint:

  28         1.    February 28, 2022 – Plaintiff’s Opposition due

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   1        2.    March 14, 2022 – Defendant’s Reply due
   2        3.    March 28, 2022, at 1:30 p.m., or at the Court’s convenience – Hearing
   3        4.    April 21, 2022, or at the Court’s convenience – Rule 26(f) Conference
   4

   5        IT IS SO STIPULATED.
   6 DATED: January 24, 2022               MUNGER, TOLLES & OLSON LLP
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   9
                                           By:        /s/ Ariel T. Teshuva
                                               ARIEL T. TESHUVA
  10                                       Attorneys for Defendant
  11                                       The Regents of the University of California
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  13 DATED: January 24, 2022                     HATHAWAY PARKER
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  16                                       By:        /s/ Mark M. Hathaway
                                               MARK M. HATHAWAY
  17
                                               JENNA E. PARKER
  18                                       Attorneys for Plaintiff
  19
                                           John Doe

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   1                               FILER’S ATTESTATION
   2        Pursuant to L.R. 5-4.3.4(a)(2), I, Ariel T. Teshuva, certify that all other
   3 signatories listed, and on whose behalf this filing is submitted, concur in this filing’s

   4 content and have authorized this filing.

   5

   6 DATED: January 24, 2022                MUNGER, TOLLES & OLSON LLP
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   9
                                            By:        /s/ Ariel T. Teshuva
                                                ARIEL T. TESHUVA
  10                                        Attorneys for Defendant
  11                                        The Regents of the University of California
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